         Case 1:21-sw-00101-GMH Document 3 Filed 04/15/21 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEARCH OF
 ONE DIGITAL STORAGE MEDIA
 DEVICE, SERIAL NUMBER
 S3Z6NW0K713033N, CONTAINING THE                   No. 21-sw-101
 IMAGES OF TWO WIRELESS
 TELEPHONES LOCATED AT 601 4TH
 ST NW, WASHINGTON, D.C. 20535




                                    NOTICE OF ERRATA

       In the caption, search warrant application, and related materials in the instant matter, the

serial number for the digital storage media device containing the images of the wireless telephones

to be searched was identified in error as S3Z6NW0K713033N. The correct serial number is

S3Z6NW0K713031A.


                                                   Respectfully submitted,

                                                   CHANNING D. PHILLIPS
                                                   ACTING UNITED STATES ATTORNEY
                                                   D.C. Bar. No. 415793


                                               By: /s/Elizabeth Aloi
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